
966 A.2d 568 (2009)
OFFICE OF DISCIPLINARY COUNSEL, Petitioner
v.
Arthur Louis BLOOM, Respondent.
No. 1409 Disciplinary Docket No. 3. No. 177 DB 2006.
Supreme Court of Pennsylvania.
Argued March 3, 2009.
Decided March 23, 2009.
Susan Nicol Dobbins, Esq., Disciplinary Bd. of Supreme Court of PA, for Office of Disciplinary Counsel, petitioner.
John E. Quinn, Esq., Portnoy &amp; Quinn, L.L.C., Pittsburgh, for Arthur Louis Bloom, respondent.
*569 BEFORE: CASTILLE, C.J., SAYLOR, EAKIN, TODD, McCAFFERY and GREENSPAN, JJ.

ORDER
PER CURIAM:
Upon consideration of the Report and Recommendations of the Disciplinary Board dated July 14, 2008, and following oral argument, it is hereby
ORDERED that Arthur Louis Bloom be and he is disbarred from the Bar of this Commonwealth and he shall comply with all the provisions of Rule 217, Pa.R.D.E. It is further ORDERED that respondent shall pay costs to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
Justice BAER did not participate in the consideration or decision of this case.
